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AO 245B (Rev. 09/17)                             Judgment in a Criminal Case
                                                  Sheet 1




                                                                                                   District of Utah

                                    UNITED STATES OF AMERICA                                  lU!3 Jf\N 2J)          /\Jtln'.b~ENT IN A CRIMINAL CASE
                                                             v.                                    DlSTF:1c·:~
                                                 Bruce McKean Strong                                   -;-.-:;·;:~-;~- .• -Case Number:      DUTX 2:16CR000359-001 DB
                                                                                                              )       USM Number: 24800-081
                                                                                                              )
                                                                                                              )        Brett Tolman
                                                                                                              )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)                                    1s - 6s - Indictment

D pleaded nolo contendere to count(s)
      which was accepted by the court.
D was found guilty on count(s)
      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                              Nature of Offense
 ···-··· ·-····-·- ·-·:·:··-·····--·------   .                         "';"'""'""'


  18u:s~C.§13$1 /\._< •;rv1ai1 Fraud                                                 >>

  18 U.S.C. § 1341                                             Mail Fraud                                                                                                2s

· '26u.s.c. §720.1 1:<··:_:•:'Eva$id~~fA~~essmer1t~fif{~~riJ~t~~)·:                                                        /                                            ;>38

       The defendant is sentenced as provided in pages 2 through                                              _ _8___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 D Count(s)                                                                               D   lS       D are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 3 0 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material cnanges in economic circumstances.

                                                                                                              1/24/2018
                                                                                                             Date oflmposition of Judgment




                                                                                                              Dee Benson, U.S. District Judge
                                                                                                              Name and Title of Judge


                                                                                                               1/26/2018
                                                                                                              Date
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AO 2458 (Rev. 09/17)   Judgment in a Criminal Case
                       Sheet !A
                                                                           Judgment-Page   2     of    8
DEFENDANT: Bruce McKean Strong
CASE NUMBER: DUTX 2:16CR000359-001 DB

                                           ADDITIONAL COUNTS OF CONVICTION

                                                                                               Count
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AO 245B   (R~v.   09117) Judgment in Criminal Case
                         Sheet 2 - Imprisonment

                                                                                                    Judgment -   Page   3   of   8
DEFENDANT: Bruce McKean Strong
CASE NUMBER: DUTX 2:16CR000359-001 DB

                                                                IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
  72 months.




    Ill    The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends that the defendant be placed at Federal Correctional Institution at Montgomery, Alabama, for family
  visitations. The Court also recommends that the defendant participates and completes the 500 hour drug re-hab program
  (RDAP).

    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
           D at                                        D a.m.    D p.m.    on

           D as notified by the United States Marshal.

    ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           rYJ' before 12 p.m. on          3/12/2018

           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                      to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED ST ATES MARSHAL




                                                                                              DEPUTY UNITED STATES MARSHAL
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 AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                                   Judgment-Page   4   of   8
 DEFENDANT: Bruce McKean Strong
 CASE NUMBER: DUTX 2:16CR000359-001 DB
                                                            SUPERVISED RELEASE
                                                                                  60 months.
 Upon release from imprisonment, you will be on supervised release for a term of~·- - - - - - - - - - - - - - - - - - - - -




                                                        MANDATORY CONDITIONS


1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                 D The above dmg testing condition is suspended, based on the court's determination that you
                      pose a low risk of future substance abuse. (check if applicable)
4.      VJ    You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
              restitution. (check if applicable)
5.      Ill   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
              directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
              reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.      D You must participate in an approved program for domestic violence.             (check   if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                      Sheet 3A - Supervised Release
                                                                                               Judgment-Page         5        of         8
                                                                                                                                   -------
DEFENDANT: Bruce McKean Strong
CASE NUMBER: DUTX 2:16CR000359-001 DB

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly c01mnunicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision.
14.   You must submit your person, residence, office or vehicle to search, conducted by the probation office at a reasonable time and in a
      reasonable manner based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit
      to a search may be grounds for revocation; you must warn any other residents that the premises may be subject to searches pursuant to
      this condition




 U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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 AO 245B(Rev. 09/17) Judgment in a Criminal Case
                     Sheet 30- Supervised Release
                                                                                          Judgment-Page -~6_ of         8
DEFENDANT: Bruce McKean Strong
CASE NUMBER: DUTX 2:16CR000359-001 DB

                                       SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall not use or possess alcohol, nor frequent businesses where alcohol is the chief item of order.

 2. You must participate in a substance abuse evaluation and/or treatment under a copayment plan as directed by the
 probation office. During the course of treatment, the defendant shall not consume alcohol nor frequent any establishment
 where alcohol is the primary item of order.

 3. You must submit to drug/alcohol testing, as directed by the U.S. Probation Office.
                                                                                Case 2:16-cr-00359-DB Document 71 Filed 01/26/18 Page 7 of 8
AO 245B (Rev. 09/17)                                                Judgment in a Criminal Case
                                                                    Sheet 5 - Criminal Monetary Penalties
                                                                                                                                                      Judgment -   Page -~7~_   of   8
 DEFENDANT: Bruce McKean Strong
 CASE NUMBER: OUTX 2:16CR000359-001 DB
                                                                                                 CRIMINAL MONETARY PENALTIES
                The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                              Assessment                             JVT A Assessment*                                       Restitution
 TOTALS                                                     $ 600.00                             $                            $                            $ 1,067,371.00



 D The determination ofrestitution is deferred until                                                        ----
                                                                                                                         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
                 after such determination.

  ~              The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

                 If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
                 the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
                 before the United States is paid.

 Name
   '"·.
        of Payee                                                                     '.;.7

 c.r1t1MPtih§l1o'W'c186tsoniB Plastics,.•
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       P.O. Box 868 Pleasant Grove, UT 84062.

       1.R.$ ~·R,ABs:A.~~ ~ail ~t6p ~26.1
        Restitution 333 W. Pershing Ave ..




  TOTALS                                                                                     $        1,067,371.00                    1,067,371.00
                                                                                                                             $- - - - - -----


      D              Restitution amount ordered pursuant to plea agreement $

      D              The defendant must pay interest on restih1tion and a fine of more than $2,500, unless the restitution or fine is paid in full before the
                     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
                     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      ~              The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                     D the interest requirement is waived for the                                               D fine    ~ restitution.

                      D the interest requirement for the                                             D   fine    D   restitution is modified as follows:

      *Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
      **Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and l 13A of Title 18 for offenses committed on or
      after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/17) Judgment in a Criminal Case
                     Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page      8      of           8
DEFENDANT: Bruce McKean Strong
CASE NUMBER: DUTX 2:16CR000359-001 DB

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     liZl   Lump sum payment of$        600.00
                                        -------
                                                                  due immediately, balance due

             D    not later than                                      , or
             D    in accordance with D C,             D D,       D     E,or      D F below; or
B     D Payment to begin immediately (may be combined with                    DC,          D D, or      D F below); or

C     D Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     liZl   Special instructions regarding the payment of criminal monetary penalties:

              NO FINE IMPOSED. SAP $600.00. RESTITION $1,067,371.00




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 ~     The defendant shall forfeit the defendant's interest in the following property to the United States:
        Forfeiture Money Judgment


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restih1tion interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
